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              UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                       PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                                    Case No. 3:20cr70/TKW

MILTON C. PRUITT
______________________________/

                    ACCEPTANCE OF PLEA OF GUILTY

      Pursuant to the Report and Recommendation of the Chief United States

Magistrate Judge, to which there have been no timely objections, the plea of guilty

of the Defendant, MILTON C. PRUITT, to Counts One, Two, and Three of the

indictment is hereby ACCEPTED. All parties must appear before this Court for

sentencing as directed.

      DONE AND ORDERED this 7th day of December 2020.

                                       T. Kent Wetherell, II
                                      T. KENT WETHERELL, II
                                      UNITED STATES DISTRICT JUDGE
